          Case 1:17-cv-00365-DAE Document 314 Filed 02/04/20 Page 1 of 11




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION

UMG RECORDINGS, INC., et al.,
                                        §
                                        §
        Plaintiffs,
                                        §
                                        §   Civil Action No. 1:17-cv-00365-DAE-AWA
vs.
                                        §
                                        §
GRANDE COMMUNICATIONS
                                        §
NETWORKS LLC,
                                        §
                                        §
        Defendant.
                                        §
                                        §




          PLAINTIFFS’ MOTION IN LIMINE TO PRECLUDE IRRELEVANT OR
      PREJUDICIAL EVIDENCE OR ARGUMENTS RELATED TO RIGHTSCORP, INC.
          Case 1:17-cv-00365-DAE Document 314 Filed 02/04/20 Page 2 of 11




         Pursuant to Rules 402 and 403 of the Federal Rules of Evidence, Plaintiffs move in limine

to preclude Defendant Grande Communications Networks, LLC (“Grande”) from introducing any

irrelevant or unfairly prejudicial evidence or making any related argument at trial regarding: (1)

Grande’s allegation (rejected by Magistrate Judge Austin) that Rightscorp, Inc. (“Rightscorp”)

destroyed evidence necessary to its defense; (2) Rightscorp’s business practices and any

derogatory descriptions of those practices; or (3) Rightscorp’s finances. These topics are irrelevant

to determining the accuracy of Rightscorp’s system for identifying copyright infringement on the

networks of internet service providers (“ISPs”) like Grande and are unfairly prejudicial to Plaintiffs

because they are likely to inappropriately prejudice the jury against Rightscorp.

                                         BACKGROUND

         While the facts specifically relevant to each topic that should be precluded are described

below, it is important to note at the outset that Grande developed its criticisms of Rightscorp only

after this litigation began. During the relevant time period—from 2011, when Rightscorp began

to send copyright infringement notices to Grande, to April 2017, when Plaintiffs initiated this

suit—Grande took no action suggesting that it doubted the reliability of Rightscorp’s system for

monitoring online copyright infringement, the accuracy of any Rightscorp notice, or the business

model Rightscorp employed. To the contrary, Grande’s corporate witnesses testified that Grande

confirmed that Rightscorp was “a valid entity” and admitted that Grande never concluded that any

Rightscorp notice was incorrect in any respect.1 Thus, any criticism of Rightscorp now leveled by

Grande necessarily reflects a post-hoc litigation posture and not a sincerely held concern that

motivated any action Grande took or failed to take at the relevant time.




1
    Ex. 1, Sept. 24, 2019 L. Horton Dep. at 30-32.

                                                     1
         Case 1:17-cv-00365-DAE Document 314 Filed 02/04/20 Page 3 of 11




                                      LEGAL STANDARD

        Evidence is relevant only if “(a) it has any tendency to make a fact more or less probable

than it would be without the evidence; and (b) the fact is of consequence in determining the action.”

Fed. R. Evid. 401. “Irrelevant evidence is not admissible.” Fed. R. Evid. 402. Moreover, the

Court “may exclude relevant evidence if its probative value is substantially outweighed by a

danger of one or more of the following: unfair prejudice, confusing the issues, misleading the jury,

undue delay, wasting time, or needlessly presenting cumulative evidence.” Fed. R. Evid. 403.

Whether to admit or exclude evidence has long been “left to the sound discretion of the trial judge.”

United States v. Okoronkwo, 46 F.3d. 426, 435 (5th Cir. 1995).

                                          ARGUMENT

        Grande should be precluded from introducing any evidence or making any argument

regarding (1) its rejected allegation that Rightscorp destroyed evidence in this case necessary to

its defense; (2) Rightscorp’s business practices, including any derogatory descriptions of those

practices; and (3) Rightscorp’s finances. Each of those topics is irrelevant and unfairly prejudicial

to Plaintiffs.

        Grande’s Rejected Allegation That Rightscorp Destroyed Evidence Necessary To Its
        Defense

        Throughout this litigation, Grande has accused Rightscorp of spoliating evidence,

specifically alleging that such actions were taken “with the intent to deprive Grande of access” to

that evidence. Dkt. 290, Grande’s Objections to Order on Motion for Evidentiary Sanctions (Oct.

11, 2019) at 1; see also Dkt. 247, Grande’s Motion for Evidentiary Sanctions (Jan. 3, 2019).

According to Grande, Rightscorp destroyed data that was necessary to evaluate the reliability of

Rightscorp’s system to detect online copyright infringement. Based on that accusation, Grande

moved for evidentiary sanctions, seeking to preclude Plaintiffs from relying on the copyright



                                                 3
        Case 1:17-cv-00365-DAE Document 314 Filed 02/04/20 Page 4 of 11




infringement notices generated by Rightscorp as a result of its infringement detection system. See

generally Dkt. 247 (Jan. 3, 2019). The Court effectively rejected Grande’s argument in its

summary judgment opinion, concluding that Plaintiffs did not spoliate or direct Rightscorp to

spoliate any evidence, and that Grande presented no evidence Rightscorp acted in bad faith. See

Dkt. 268, Court’s Order re Summary Judgment (Mar. 15, 2019) at 29 n.4. For good measure,

Magistrate Judge Austin then denied Grande’s sanctions motion. See Dkt. 289, Order re Motion

for Evidentiary Sanctions (Sept. 27, 2019).2

       Grande’s argument has two fatal flaws. First, Plaintiffs did not engage Rightscorp until

October 2016, and parties cannot be sanctioned for spoliation occurring before they were in a

position to control it. See Dkt. 294, Plaintiffs’ Opposition to Grande’s Objections to Order on

Motion for Evidentiary Sanctions (Oct. 25, 2019) at 9-11 (citing cases). Indeed, both Magistrate

Judge Austin and this Court confirmed that Plaintiffs cannot be responsible for any action

Rightscorp took before they were in privity. See Dkt. 268, Court’s Order re Summary Judgment

(Mar. 15, 2019) at 29 n.4; Dkt. 289, Magistrate Judge Austin’s Order re Motion for Evidentiary

Sanctions (Sept. 27, 2019) at 4.

       Second, Rightscorp’s system maintained precisely the data it was designed to maintain.

There was no separate subsequent “destruction” of evidence. Rightscorp’s collection of data was

massive, was produced to Grande, and is more than sufficient to evaluate the system’s reliability.

Plaintiffs have explained in detail the sufficiency of the data collected and maintained by

Rightscorp. See Dkt. 253 at 6-9; Dkt. 294 at 11-18 (describing available data and its sufficiency

to evaluate Rightscorp system). That proffer is why Magistrate Judge Austin repeatedly held that



2
 Grande objected to Magistrate Judge Austin’s order, see Dkt. 290 (Oct. 11, 2019), and Plaintiffs
opposed Grande’s objections, see Dkt. 294 (Oct. 25, 2019). The Court has not yet ruled on
Grande’s objections.

                                                4
        Case 1:17-cv-00365-DAE Document 314 Filed 02/04/20 Page 5 of 11




Grande was not prejudiced by not having the additional data it claims it needs. See Dkt. 289 at 4

n.1, 5 & 7.

       In reality, Grande’s claim that Rightscorp “spoliated” or “destroyed” evidence is nothing

more than an attack Grande developed after this litigation began to criticize Rightscorp for not

preserving more evidence than it did. As noted above, Rightcorp’s source code was written to

preserve evidence sufficient to confirm the infringement. The system operated as the source code

provided. Critically, there never was a subsequent “destruction” of data. Clearly, operating an

automated process as programmed is a far cry from allegedly destroying evidence that had been

preserved. Grande’s arguments are baseless attempts to transform the former into the latter, which

is highly prejudicial in addition to being incorrect.

       Accordingly, Grande should be precluded at trial from presenting evidence or arguing

again that Rightscorp “spoliated” or “destroyed” evidence supposedly necessary to Grande’s

defense. Any such evidence or argument is unfairly prejudicial to Plaintiffs, who played no role

in designing Rightscorp’s system and did not even engage Rightscorp until October 2016. See

Dkt. 268 at 29 n.4; Dkt. 289 at 4. Minimally probative evidence that is highly prejudicial should

be excluded under Rule 403.

       Rightscorp’s Business Practices

       Grande’s pretrial submissions reveal that Grande intends to disparage Rightscorp at trial

by introducing evidence and making arguments in derogatory terms critical of Rightscorp’s

business practice of offering to settle disputes with consumers who infringe copyrights.

Specifically, Grande’s exhibit list includes multiple documents related to the script Rightscorp’s

call center used to guide communications with consumers who received Rightscorp notices. Those

documents include emails describing the call center script as a “terrifying extortion script” that is

“breathtaking in its sleaze.” Dkt. 301-3, Exs. 44, 57; see also id. Exs. 58, 59. In addition, Grande


                                                  5
        Case 1:17-cv-00365-DAE Document 314 Filed 02/04/20 Page 6 of 11




has designated testimony from former Rightscorp CEO Christopher Sabec in which Grande’s

attorneys probed Rightscorp’s call center practices. See, e.g., Dkt. 301-5, C. Sabec 90:5-91:17,

140-150.

        Rightscorp’s business practices generally, and its call center script in particular, are

irrelevant to this action. The issue to be resolved at trial is whether Grande is liable for contributory

copyright infringement, i.e., whether Grande’s users engaged in direct copyright infringement of

Plaintiffs’ works about which Grande had actual knowledge or to which Grande was willfully

blind.3 Rightscorp’s business practices have no effect on any element of Plaintiffs’ claim. First,

they bear no relation to the reliability of the technical system Rightscorp developed to detect

copyright infringement online. As noted above, the reliability of that system and the accuracy of

the notices it generated can be tested through the massive amounts of data about that system

produced to Grande during discovery. See Dkt. 294 at 11-18 (describing available data and its

sufficiency to evaluate Rightscorp system). Rightcorp’s business practices do not even arguably

affect the operation of Rightscorp’s technical system.

        Second, Rightscorp’s business practices clearly had no effect on any action Grande took in

response to receiving any Rightscorp notice. There is no evidence Grande took any steps to learn

about Rightscorp’s business at the time it received those notices. Nor is there any evidence that

Grande were aware of, investigated or took any actions relating to those business practices.

Because there is no evidentiary foundation to suggest Grande was contemporaneously aware of

Rightscorp’s business practices in general or its call center script in particular, evidence of those

practices cannot be relevant to anything Grande did during the relevant time period.



3
 The Court has already held as a matter of law that Plaintiffs own the copyrights to the works in
suit and that Grande materially contributed to its users’ infringement as a matter of law. See Dkt.
268 at 42, 51. Thus, those are not issues to be resolved at trial.

                                                   6
        Case 1:17-cv-00365-DAE Document 314 Filed 02/04/20 Page 7 of 11




        Moreover, there is no evidence—nor could there be—that any Grande customer ever

interacted with Rightscorp at all, let alone in a manner influced by the call script. The script on

Grande’s exhibit list is dated October 23, 2014, which was in the middle of a four-year period

during which Grande was not even forwarding any notices it received from Rightscorp to its

subscribers. Grande did not begin to do that until March 2016, almost a year and a half later, and

did so only until February 2017, when it stopped forwarding Rightscorp notices again.4 There is

not a shred of evidence in the record to suggest that any Grande customer called Rightscorp during

that limited time period when Grande forwarded Rightscorp notices, let alone heard the purported

call center script. The call center scripts therefore play no role in this case.

        In BMG v. Cox, which also involved Rightscorp, the court excluded evidence of

Rightscorp’s business practices (including its call script) for exactly these reasons: like Grande,

Cox had no contemporaneous knowledge of Rightscorp’s business practices and did not forward

Rightscorp notices to its subscribers. See BMG Rights Mgmt. (US) LLC v. Cox Communications,

Inc., 199 F. Supp. 3d 958, 988 (E.D. Va. 2016). The court in Cox discounted the relevance of the

call center scripts because they were “for phone calls between Rightscorp and subscribers of other

ISPs of which Cox was unaware” at the relevant time. Id. The same is true here.

        In addition to being irrelevant, evidence of Rightscorp’s business practices is also unfairly

prejudicial and likely to cause jury confusion. It is clear that Grande seeks to introduce this

evidence to unfairly assert that Rightscorp is a somehow a bad actor that should not be trusted.


4
  See Dkt. 173-87, Excerpt from Grande CSG/OSG Letters Database (showing first letter sent to
Grande subscriber based on Rightscorp notice in March 2016); Ex. 2, Feb. 21, 2018 L. Horton
Dep. at 137:8-19 (“Q: What’s your best recollection as to when any such time periods were? A:
Going from memory, which may not be accurate, with the implement – implementation of this
policy, I believe that Rightscorp was not providing the requirements to process at the time of
implementation. What I am not a hundred percent sure of is whether there was a time period that
that changed or varied back and forth, and I would need to confirm that. Q: When you say ‘this
process,’ you mean the DMCA policy implemented in February 2017? A: Yes.”).

                                                   7
        Case 1:17-cv-00365-DAE Document 314 Filed 02/04/20 Page 8 of 11




That argument is not based on any critique of Rightscorp’s infringement monitoring system and

thus is purely pejorative, especially when based on documents that use derogatory language like

“extortion” and “sleaze.” It is meant to confuse the jury into doubting Rightscorp’s technical

accuracy based on a distaste for Rightscorp on an unrelated topic. That is exactly the type of

information Rule 403 is meant to exclude.5

       Rightscorp’s Finances

       Grande’s exhibit list also shows that Grande further intends to disparage Rightscorp at trial

by introducing evidence and making arguments related to Rightscorp’s finances, particularly the

dire condition Rightscorp was in during 2017. Grande’s proposed Exhibit 56 is an online news

article with the headline: “Rightscorp finished Sept 2017 with $3,147 in the bank, warns investors

it will likely have to shut down without more cash.” Dkt. 301-3, Ex. 56. Grande also has

designated testimony from Mr. Sabec regarding Rightscorp’s financial condition. See, e.g., Dkt.

302-5, C. Sabec Dep. 92-93, 96. This as well as any other evidence Grande seeks to admit

regarding Rightscorp’s finances, and any arguments Grande seeks to make about that evidence,

should be excluded from trial.

       As with evidence of Rightscorp’s business practices, evidence of Rightscorp’s finances is

irrelevant to determining the accuracy of Rightscorp notices or how Grande responded to receiving

those notices. There is no evidence proving or even suggesting that Rightscorp’s finances had any


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  The court in Cox also precluded Cox from using derogatory or inflammatory language itself to
describe Rightscorp. See Cox, No. 1:14-CV-01611-LO-JFA (E.D. Va.), Dkt. 691 at 12 (granting
BMG’s Motion in Limine No. 1 to Exclude Introduction of Irrelevant Information About
Rightscorp, Inc.). BMG sought such an order because Cox and its attorneys had used such
language during depositions and summary judgment briefing. See id., Dkt. 544, BMG’s Motion
in Limine No. 1, at 3-4 (collecting examples). While Grande has not used similarly derogatory
language to date, Plaintiffs submit that if Grande changes tactics at trial, an order similar to the
one issued in Cox is appropriate. Litigants should not use “terms that carry unnecessarily negative
and prejudicial connotations.” Energy Heating, LLC v. Heat On-The-Fly, LLC, No. 4:13-CV-10,
Dkt. 530 at 2, 4 (D.N.D. Aug. 13, 2015).

                                                 8
           Case 1:17-cv-00365-DAE Document 314 Filed 02/04/20 Page 9 of 11




impact whatsoever on the accuracy of its infringement detection system at the relevant time.

Moreover, Rightscorp’s financial condition in late 2017 post-dates when this action was filed, so

it could not have affected how Grande responded to receiving Rightscorp notices before this

lawsuit.

       Presumably, Grande intends to use Rightscorp’s financial condition after this lawsuit was

filed to suggest that Rightscorp has a financial motive to ensure Plaintiffs prevail. But Rightscorp

has no direct financial interest in the outcome of this lawsuit. Thus, there is no connection between

Rightscorp’s finances in late 2017 and the credibility of any witness in this case.

                                         CONCLUSION

       For the foregoing reasons, the Court should grant Plaintiffs’ motion in limine to preclude

Grande from introducing any evidence or making any argument regarding the three topics

discussed above.

                              CERTIFICATE OF CONFERENCE

       Pursuant to Local Rule CV-7(i), counsel for Plaintiffs state that they conferred with counsel

for Defendant regarding the topic of this motion, and Defendant did not consent to the motion.

Dated: February 4, 2020                      Respectfully submitted,

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                                                 9
Case 1:17-cv-00365-DAE Document 314 Filed 02/04/20 Page 10 of 11




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                               10
       Case 1:17-cv-00365-DAE Document 314 Filed 02/04/20 Page 11 of 11




                              CERTIFICATE OF SERVICE

       The undersigned certifies that on February 4, 2020 all counsel of record who are deemed
to have consented to electronic service are being served with a copy of this document via the
Court’s CM/ECF system pursuant to Local Rule CV-5(b)(1).


                                           /s/ Daniel C. Bitting
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                                             11
